Case 3:19-cv-16458-FLW-DEA Document 24 Filed 06/01/20 Page 1 of 1 PageID: 429



Patrick L. Rocco (PR-8621)
FLEISCHMAN BONNER & ROCCO LLP
447 Springfield Avenue, 2nd Floor
Summit, New Jersey 07901
(908) 516-2045
Email: procco@fbrllp.com

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

________________________________________

 In re: Application of CALIFORNIA STATE             Civil Action No. 3:19-cv-16458
 TEACHERS’ RETIREMENT SYSTEM for an
 Order pursuant to 28 U.S.C. § 1782 Granting        NOTICE OF WITHDRAWAL
 Leave to Obtain Discovery for Use in a Foreign     OF COUNSEL
 Proceeding

 _______________________________________


TO: The Clerk of Court and all counsel of record:

       PLEASE TAKE NOTICE that Patrick L. Rocco of Fleischman Bonner & Rocco LLP

hereby withdraws as counsel for Applicant California State Teachers’ Retirement System

(“CalSTRS”) and should be removed from the Court’s service list with respect to this action.

CalSTRS is represented in this action by N. Ari Weisbrot of The Law Office of N. Ari Weisbrot

LLC, upon whom all future filings in this action should be served.

Dated: June 1, 2020


                                     By:       /s/ Patrick L. Rocco
                                            Patrick L. Rocco (PR-8621)
                                            FLEISCHMAN BONNER & ROCCO LLP
                                            447 Springfield Avenue, 2nd Floor
                                            Summit, New Jersey 07901
                                            (908) 516-2045
                                            Email: procco@fbrllp.com
